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        d.      alternatively, the business itself

        e.      the costs of recovery and collection, and

        f.      reasonable attorneys' fees and costs incurred by the Plaintiff in this action.

                                Ownership of Intellectual Property

28.     Plaintiff used the name and all indicia of the restaurant name and brand "Bolton's Spicy

Chicken and Fish," (generally, "Bolton's") in commerce prior to Defendant, as evidenced by the

putative purchase agreement's existence.

29.     Because Defendant never paid Ms. Graham-Matthews the agreed upon Owed Funds for

the business, ownership of Bolton's should still remain with Plaintiffs, together with their

trademark rights to operate as Bolton's.

30.     Defendant intentionally continues to use the name and marks of Bolton's.

31.     A substantial likelihood of confusion exists as to the ownership of Bolton's as operated by

Defendants versus its lawful operation by Plaintiffs.

32.     A low d egree of care is anticipated to be exercised by consumers in d iscerning the

difference between Bolton's as operated by Defendant versus as operated by Plaintiff.

33.     Allowing Defendant to operate as "Bolton's" substantially infringes upon the Plaintiffs'

Trademark Rights, which remain unpurchased.
                             Fraud/Fraud in the Inducement
34.     Plaintiff repeats and realleges the preceding paragraphs as if fully stated verbatim herein.

35.     On information and belief, Defendants falsely made multiple representations directly to
Plaintiff, including that Defendant:

        a.      intended to pay Plaintiff the Owed Funds,

        b.      intended to and was capable of performing its obligations according to the

                Agreement, and



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Dated: ------ , 2025

                                               Respectfully submitted by:



                                                Isl Andrew M. Mitchell


                                                Andrew Mitchell, BPR #035645

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